
965 So.2d 365 (2007)
Robert H. REED, Appellant,
v.
STATE of Florida, Appellee.
No. 5D06-4474.
District Court of Appeal of Florida, Fifth District.
October 2, 2007.
James S. Purdy, Public Defender, and Susan A. Fagan, Assistant Public Defender, Daytona Beach, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Lori N. Hagan, Assistant Attorney General, Daytona Beach, for Appellee.
PER CURIAM.
AFFIRMED. See Byrd v. State, 419 So.2d 725 (Fla. 5th DCA 1982).
PALMER, C.J., PLEUS and MONACO, JJ., concur.
